Case: 1:18-md-02820-SNLJ
           Case MDL No. 2820
                           Doc.Document
                                #: 115
                                   114 Filed:
                                        105 07/03/18
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                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION



  IN RE: DICAMBA HERBICIDES LITIGATION                                                     MDL No. 2820



                                    (SEE ATTACHED SCHEDULE)



                          CONDITIONAL TRANSFER ORDER (CTO −4)



  On February 1, 2018, the Panel transferred 5 civil action(s) to the United States District Court for
  the Eastern District of Missouri for coordinated or consolidated pretrial proceedings pursuant to 28
  U.S.C. § 1407. See 289 F.Supp.3d 1345 (J.P.M.L. 2018). Since that time, 11 additional action(s)
  have been transferred to the Eastern District of Missouri. With the consent of that court, all such
  actions have been assigned to the Honorable Stephen N. Limbaugh, Jr.

  It appears that the action(s) on this conditional transfer order involve questions of fact that are
  common to the actions previously transferred to the Eastern District of Missouri and assigned to
  Judge Limbaugh.

  Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
  Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
  Eastern District of Missouri for the reasons stated in the order of February 1, 2018, and, with the
  consent of that court, assigned to the Honorable Stephen N. Limbaugh, Jr.
  This order does not become effective until it is filed in the Office of the Clerk of the United States
  District Court for the Eastern District of Missouri. The transmittal of this order to said Clerk shall be
  stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
  Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                         FOR THE PANEL:
    Jul 03, 2018



                                                         Jeffery N. Lüthi
                                                         Clerk of the Panel
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  IN RE: DICAMBA HERBICIDES LITIGATION                                     MDL No. 2820



                      SCHEDULE CTO−4 − TAG−ALONG ACTIONS



     DIST      DIV.      C.A.NO.        CASE CAPTION


  IOWA NORTHERN

     IAN         6       18−02039       Wapsie Farms v. Monsanto Company
